Case 5:13-CV-01712-GW-DTB Document_ 1 Filed 09/29/13 Page 1 of 27 Page |D #:4

 

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_ " "' 19. - . - Pursuant.'to 28 U.S.C. § 1441 et seq., Defendant.ConsnmerInfo.Com, Inc.
20 (“CIC”) hereby files a Noti'ce of Remova_`l for the above-captioned zaction.to this
21 Court.
22 ln further support of this No{ice, CIC states`:
, 23 . 1. CIC, is a named Defendant in Ci`vil Action No. MVS 1303037 filed in
24 the superior court ofthe state of Califonua, coumy of- Riverside, small claims
25 Divisi.on(me “sme conn A'¢zion”). `
26 2. 'I'he Comp'laint in the State Court Action was filed with the Cle_rk of

27 the Superior Co'urt of the State of Califomia, County of Riverside on Aug-ust 23,

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2013. Defendant CIC is the only defendant and was served with the Complaint on
September 10, 2013.

3. This Notice is being filed with this Court within thirty (30) days after
Defendant CIC received a copy of Plaintiff’s initial pleadings setting forth the
claims for relief upon which Plaintiff’s action is based.

4. Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true
and correct copy of all substantive records and proceedings from the state court.

5. Pursuant to 28 U.S.C. § 1446(d), CIC shall file a copy of this Notice of
Removal with the clerk of the State Court Action, and shall serve Plaintiff through
his attorney of record in the State Court Action with this Notice promptly after its
filing.

6. The claims of relief against CIC alleged in the State Court Action arise
under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681u. Thus, this court has
original subject matter jurisdiction over the above-captioned action pursuant to 28
U.S.C. § 1331 and 15 U.S.C. § l681p. The above-captioned action may properly
be removed to this United States District Court pursuant to 28 U.S.C. § l44l(a) and
(b)-

7. Defendant CIC does not waive any defense to the Complaint,
including but not limited to lack of service, improper service, or lack of personal
jurisdiction.

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WHEREFORE, CIC notices the removal of this case to the United States
District Court for the Central District of California pursuant to 28 U.S.C. §1441 et
seq.

Dated: September 20, 2013 JONES DAY

By: ‘
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Attorne s for Defendant
CONS RINFO.COM, INC.

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NOTICE OF REMCWAL OF ACTION FROM STATE COURT TO UNITED STATES DISTRICT
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EXHIBIT A

 

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Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 9 of 27 Page |D #:12

    

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El Aseeor de Reclamoe (Rlverside) 951-2?4-4499
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Nilab N. Rahyar (sraze BarNo. 272310)
mirahyar@ionesday.corn F “ L E © m
JoNEs DAY MMNQ$\YMM
3161 Méche;s§€ DHS,ssuite soo °°“ 13
lrvine, A 12.

Telephone: (949) 351-3939 SEP 19 m_
Facs\mil¢: (949) 553-7539 _ M. LoPH'°'“*"‘
Attomeys for Defendant

coNsUMERn~JFo.COM lNc

SUPER]OR COURT OF THE STA'I`E OF CALlFORN[A
COUNTY OF RlVERSIDE

DEON TI-IOMAS, CASE NO. MVS 1303037
Plaintifi`, Small Claims Division - Dept. MVl
v. ANSWER OF DEFENDANT
CONSUMERINFO.COM, INC. TO
CONSUMERJNFO.COM, INC., CGMPLAINT

Defendant. Complaint Filecl: August 23, 2013
Trial Date: None Set

 

GENERAL D
Defendant ConsumerInfo.Com, lnc. (“CIC”), answers the complaint filed by plaintiff

Deon Thomas (“Thomas") (the “Complaint"].

Pursuant to section 431.30(d) of the Califomia Code of Civil Procedure, CIC denies,
generally and specifically, each and every allegation of the Complaint. CIC further denies that
Plaintiff has suffered, or will sufl`er, any injury, den'iment, damage or loss, or is entitled to costs,
expenses or attomeys' fees in any matter or sum whatsoever, by reason of any act or omission of
CIC, its agents, employees and)'or anyone acting on CIC’s behalf CIC lilrther denies that
Plaintiff` is entitled to the relief sought, or to any relief whatsoever.
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ANSWER TO COMPLAINT

 

 

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5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 12 of 27 Page |D #:15

AFFIRMATIVE DEFENSES

As separate and distinct aftinnative defenses to the Complaint, CIC alleges as

follows:

FIRST AFFIRMATIVE DEFENSE
(FAILURE TO STATE A CLAIM AGAINST CIC)

The Complaint, and each purported cause of action therein, fails to state facts sufficient to
constitute a cause of action against CIC and further fails to state facts sufficient to entitle Plaintiif

to the relief sought, or to any other relief whatsoever, from CIC,

sacoND AFHRMATle-: DEFENSE
(IMMUNITY) '

Plaintifi‘s claims are barred as against CIC by the qualified immunity of 15 U.S.C. §

163111(¢).

THIRD AFFIRMATIVE DEFENSE
(WAIVER)

PlaintiH’ s claims are barred, in whole or in part, by the doctrine of waiver.

FoURTH AFF!RMATIVE DEFENSE
(TRUTH/ACCURACY)

Plaintifi`s claims are barred as against CIC because all information CIC communicated to

any third person was true.

FIFTH AFFIRMATIVE DEFENSE
(FAILURE TO M]TIGATE DAMAGES)

Plaintiff has failed to mitigate his damages

 

sleH AFFIRMATIVE DEFENSE
(LACHES) '

The Complaint and each claim for relief therein is barred by laches.

SEVENTH AFFIRMATIVE DEFENSE
(CONTRIBUTORYICOMPARATIVE FAULT)

CIC is informed and believes and thereon alleges that any alleged damages sustained by
Plaintiif was, at least in part, caused by the actions of Plaintiff himself and resulted from

Plaintiff’ s own negligence which equaled or exceeded any alleged negligence or wrongdoing by

CIC,
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ANSWER TO COMPLAINT

 

 

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EIGI~ITH AFFIRMATIVE DEFENSE
(ESTOPPEL)

Any damages that Plaintitf may have sufi`ered, which CIC continues to deny, was the
direct and proximate result of the conduct of Plaintift`. 'I`herefore, Plaintiif is estopped and barred

from recovery of any damages whatsoever as against CIC.

N`[NTH AFFIRMATIVE DEFENSE
(STATUTE OF LMTATIONS)

CIC is informed and believes and thereon alleges that all claims for relief in the Complaint

against CIC are barred by the applicable statutes of limitation.

MAFFMIW
(IN'I`ERVENING CAUSE)

Plaintifl’s alleged damages, which CIC continues to deny, were not caused by CIC but by
an independent intervening cause, including but not limited to accurate negative information
regarding Plaintiff.

ELEVENTH AFFIRMATIVE DEFENSE
(UNCLEAN HANDS)

The Complaint, and each claim for relief therein that seeks equitable relief, is barred by

the doctrine of unclean hands.

TWELFTH AFFIRMATIVE DEFENSE
(INDEMNIFICATION)

CIC is informed and believes and thereon alleges that any purported damages allegedly
suffered by Plaintiff are the results of the acts or omissions of third persons over whom CIC had

neither control nor responsibility.

:[`HIRTEENTH AFFIRMATIVE DEFENSE
(IMPROPER REQUEST FOR PUNITIVE DAMAGES)

 

Plaintiff’s Complaint does not allege facts sufficient to rise to the level of conduct

required to recover punitive damages, and thus all requests for punitive damages are improper.

FOURTEENTH AFFIRMATIVE DEFENSE
(RIGIIT TO ASSERT ADDITIONAL DEFENSES)

CIC reserves the right to assert additional affirmative defenses at such time and to such
extent as warranted by discovery and the factual developments in this case.

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ANSWER TO COMPLAINT

 

 

Case 5:13-cv;01712-GW-DTB Document 1 Filed 09/20/13 Page 14 ot 27 Page |D #:17
l PRAYER FOR RELIEF
2 WHEREFORE, Defendant ConsumerInfo.Com, Inc. prays as follows:
3 1) That Plaintili` take nothing by virtue of the Complaint herein and that this action be
4 dismissed in its entirety;
5 2) For costs of suit (and attomeys’ fees) herein incurred; and
6 3) For such other and further relief as the Court may deem just and proper.
7 Dated: September 19, 2013 JONES DAY
8
9 By:gabtnmdzn@m_
10 Nil N. Rahyar
Attorneys for Defendant
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ANSWER TO COMPLAINT

 

 

 

 

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PROOF OF SERVICE
I am a citizen of the United States and employed in Orange County, California. l am over
the age of eighteen years and not a party to the above-entitled action. My business address is
3161 Michelson Drive, Suite 800, Irvine, California 92612. On September 19, 2013, l served a
copy of the following document(s): ANSWER TO COMPLAINT

by placing the document(s) listed above in a sealed envelope with postage thereon

fully prepaid, in the United States mail at Irvine, California addressed as set forth
below.

Deon Thomas Plaintiff
14626 Red Gum Street lN PRO PER
Moreno Valley, CA 92555

Telephooe: (951) 413-9071

l am readily familiar with the firm’s practice of collection and processing correspondence
for mailing. Under that practice it would be deposited with the U.S. Postal Service or UPS on
that same day with postage thereon fully prepaid in the ordinary course of business. l am aware
that on motion of the party served, service is presumed invalid if postal cancellation date or
postage meter date is more than one day after date of deposit for mailing an affidavit

I declare under penalty of perjury under the laws of the State of California that the above

is true and correct.

Executed on September l9, 2013, at Irvine, Califomia.

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ANSWER TO COMPLAINT

 

Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 16 of 27 Page |D #:19

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tillle N. Rahyar (SBN 272810)

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3161 Micheison Drive, Suite 800
|rvine, CA 92612-4408
ratst no.: (949) 851-3939 stno. roman (949) 553-7539
summoan nnrahyar@jonesday.com
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men maness- 13800 Heacock Avenua
MA|L|NG ADDREBS:
emmasz cone Moreno Valley, CA 92553
ramon ms Smali Claims Divlsion

PLA|NT|FFJ'F'ETlTiONER: DEON THOMAS

 

 

DEFENDANT)'RESPONDENT: CONSUMER|NFO.COM, lNC.

 

¢ASE NUMBER:

MVS 1303037

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NOT|CE OF STAY OF PROCEEDINGS

 

 

 

 

 

To the court and to ali partles:
1. Declarant {name): Defendant CONSUMERINFO.COM, iNC.
a. E is E the party m the attorney for the party who requested or caused the stay.

b. I:I is i:l the plaintiff or petitioner l:] the attorney for the piaintiit or petitioner. The party who requested the stay
has not appeared in this case or is not subject to the jurisdiction of this court

2. Thla ease is stayed as follows:

a. W1ti1 regard to all parties.
b. [:I Wilh regard to the following parties (specr`fy by name and party dostgnatr'on):

3. Reason for the stay:

a. I:i Auiornat|c stay caused by a tilan in another oourt. {Attech a copy of the Notr'ce of Commencement of Cese, the
bankruptcy petition or other document showing that the stay is in e#ect, and showing the court, case number,
debtor, and petitioners.)

b. l:l Order of a federal court or of a higher Califomla court (Attaon a copy ofthe court order.)

c. [:] Contraetual arbitration under Code of Civil Procedure section 1281 .4. (Attach a copy ofthe order directing
arbitration.)

d. I:I Arbitration ot attorney fees and costs under Business and Professions Code section 8201. (Attech a copy of the
client’s request for arbitration showing filing end service.)

e. E Other: Removai to U.S. District Court, Central District pursuant to 28 U.S.C. Sect`rons 1331, 1441, and 1446.

l declare under penalty of perjury under the laws of the State of Caiifornia that the foregoing is true and correct
Dare: September 20. 2013

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5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 18 of 27 Page |D #:21

PROOF OF SERVICE
I am a citizen of the United States and employed in Orange County,
California. I am over the age of eighteen years and not a party to the above-entitled
action. My business address is 3161 Michelson Drive, Suite 800, Irvine, California
92612. On September 20, 2013, I served a copy of the following document(s):
NOTICE OF STAY OF PROCEEDINGS
by placing the document(s) listed above in a sealed envelope with

postage thereon fully prepaid, in the United States mail at Irvine,
Califomia addressed as set forth below.

Deoo Thomas Plaintiit'
14626 Red Gum Street lN PRO PER
Moreoo Valley, CA 92555

Telephone: (951) 413-9071

I am readily familiar with the tinn’s practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the
U.S. Postal Service or UPS on that same day with postage thereon hilly prepaid in
the ordinary course of business. l am aware that on motion of the party served,
service is presumed invalid if postal cancellation date or postage meter date is more
than one day after date of deposit for mailing an affidavit

I declare under penalty of perjury under the laws of the State of California

that the above is true and correct.

Executed on September 20, 2013, at Irvine, California.

Deborah iiayes

 

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NOTICE OF STAY OF PROCEED|NGS

 

 

Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 19 of 27 Page |D #:22

Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 20 of 27 Page |D #:23

 

 

 

 

l Nilab N. Rahyar (State Bar No. 272810)
nnrahyar@jonesday.corn
2 JONES DAY
3161 Micheison Drive, Suite 800
3 Irvine, CA 92612.4408
Teiephone: (949) 851-3939
4 Facs:unile: (949) 553-7539
5 Attorneys for Defendant
CONSUMERJI`IFO.COM, ]NC
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7
8 SUPER|OR COURT OF THE STATE OF CALIFORNIA
9 coUNTY or RransIr)s
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11 DEoN THoMAs, cAsE No. MVS 1303037
12 Plaimia‘, smau claims Division - Depr. Mv1
13 v. NOTICE To sTA'rE collar AND
ADVERSE PARTY OF REMOVAL OF
14 coNsUMERINFo.coM, INC., AcTIoN FRoM stare cover To
UNITED STATES DISTRICT COURT
15 Derendam. Foa rim cENTRAL msch oF
16 CALIFORNIA
Cornplaint Filed: August 23, 2013
17 Trial Date: None Set
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22 PLEASE TAKE NOTICE THAT on September 20, 2013, Defendant
23 Consumerlnfo.com, Inc. filed its “Notice of Removal of Civil Action From State Court Pursuant
24 to 28 U.S.C. §§ 1331, 1441, and 1446” to remove this action to the United States District Court
25 for the Central District of Caiifornia. In compliance with 28 U.S.C. § 1446(d), a copy of the
26 Notice of Removal is attached as Exhibit 1 to this Notice and is served and filed herewith.
27 PLEASE TAKE FURTHER NOTICE Tl-IAT, pursuant to 28 U.S.C. § 1446(d), the filing
28 and service of this Notice removes this action and stays all proceedings in connection therewith in
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the Riverside County Superior Court unless and until this action is remanded

Dated: September 20, 2013 JONES DAY

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yNilabN. Rahyai'

Attomeys for Defendant
CONSUMER]NFO.COM, INC.

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NOTICE TO STATE COURT AND ADVERSE PARTY DF REMOVAL Ol" ACI'lON FROM STATE COURT TO UNITED

STATES DISTRICI" CDURT FOR THE CENTRAL DISTRICT Ol" CALIFORNIA

 

 

 

 

Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 22 of 27 Page |D #:25
1 PROOF OF SERVICE
2 I am a citizen of the United States and employed in Orange County, California. I am over
3 the age of eighteen years and not a party to the above-entitled action. My business address is
4 3161 Michelson Drive, Suite 800, Irvine, California 92612. On September 20, 2013, I served a
5 copy of the following document(s): NOTICE TO STATE COURT AND ADVERSE PARTY
6 OF REMOVAL OF ACTION FROM STATE COURT TO UNITED STATES DISTRICT
7 COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
8
by placing the document(s) listed above in a sealed envelope with postage thereon
9 fully prepaid, in the United States mail at Irvine, Califomia addressed as set forth
beiow.
1 0
ll Deun Thomas Plaintiff
14626 Red Gum Street IN PRO PER
12 simon valley, CA 92555
13 Telephone: (951) 413-9071
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15 . . . . . . .
I am readin familiar with the firm’s practice of collection and processing correspondence
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for mailing. Under that practice it would be deposited with the U.S. Postal Service or UPS on
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that same day with postage thereon fully prepaid in the ordinary course of business. I am aware
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that on motion of the party served, service is presumed invalid if postal cancellation date or
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postage meter date is more than one day after date of deposit for mailing an affidavit
20
I declare under penalty of perjury under the laws of the State of California that the above
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is true and correct.
22
Executed on September 20, 2013, at Irvine, California.
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25 Deborah Ha}'ie!s
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5:13-cv-01712-GW-DTB Document 1 Filed 09/20/13 Page 23 of 27 Page |D #:26

PROOF OF SERVICE

I am a citizen of the United States and employed in Orange County,
California. I am over the age of eighteen years and not a party to the above-entitled
action. My business address is 3161 Michelson Drive, Suite 800, Irvine, California
92612. On September 20, 2013, I served a copy of the following document(s):
NOTICE OF REMOVAL OF ACTION FROM STATE COURT TO UNITED
STATES DISTRICT COUR'I' FOR T`HE CENTRAL DISTRICT OF
CALIFORNIA

by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, in the United States mail at Irvine,
California addressed as set forth below.

Deon Thomas Plaintiff
14626 Red Gum Street IN PRO PER
Moreno Valley, CA 92555

Telephone: (951) 413-9071

I arn readily familiar with the firm’s practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the
U.S. Postal Service or UPS on that same day with postage thereon fully prepaid in
the ordinary course of business. I am aware that on motion of the party served,
service is presumed invalid if postal cancellation date or postage meter date is more
than one day after date of deposit for mailing an affidavit

I declare under penalty of perjury under the laws of the State of California

that the above is true and correct.

Executed on September 20, 2013, at Irvine, Califomia.

M§iae

Deborah Pfayes

 

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NOTICE OF REMOVAL OF ACTlON FROM STATE COURT TO UNl"l'ED STATES DISTRICT
COUR'I` FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

_ _ C_ase 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 24 of 27 Page |D #:27

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CAI.IFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES IUl)GES

This case has been assigned to District lodge Virginia A- Phillil>$

and the assigned
Magistrate Iudge is Oswaid Parada

The case number on all documents filed with the Court should read as follows:
5:13-cv-01712-VAP-0Px

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ludge.

Clerk, U. S. District Court

September 20, 2013
Date

 

By A. Cobian
Deputy Clerk

 

°-_~'___--_--~____-____._____.__.__________

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is
filed, a cop}l of this notice must be served on all plainti@’s).

Subse_quent documents must be filed at the following location;

|] Western Division [_`_] Southem Division § Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701

Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

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Case 5_:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 25 of 27 Page |D #:28

 

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D§ONTHOMAS C¢NSUMER|NFO.COM,|NC.

 

(b) Aaum¢ysiFlrm Name. address and Teiephone Number._ lf you

(b) attorneys iFlrm Name. Address_ and Teiephone_ Nurnber. lfyuu_
aro-representing yourself, provide same lnforrnation.)

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Nllabl,l. hhyarng y° (949) 851-3939

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Case 5:13-CV-01712-GW-DTB Document 1 Filed 09/20/13 Page 26 of 27 Page |D #:29
UN|TED STATES DlSTRlCT COURT. CENTHAL DlSTlilCT OF CAL|FORN|A

CN|L COVER SHEET

Vlll. VEN UE: Youil answers to the questions below will determine the division of the Court to which this case will most liker be initially assignedl This initial assignment
is subject to change, in accordance with the Court's Genera| Orders, upon review by the Court ofyour Comp|aint or Notioe of RernovaL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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|:1 lormoreanswersin ColumnC

C.1. lsolthorohhofollow|ng tnto? lfso,d\ockthoonothltapp||os:

|:| only 1 answer in Co|umn C and no answers in Column D

Your case will initially be assigned to the
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ii none appliesl answer question C2 to the right. »

2 or more answers in Column D

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ClVlL COVER SHEET

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Case 5:13-CV-01712-GW-DTB Document 1 Fiied 09/20/13 Page 27 of 27 Page iD #:30

UNITED STATES DISTR|CT COURT, CENTRAL DISTRICT OF CALIFORN|A

 

CW|L COVER SHEET
leIi. |DENTICAL CASES: i-ias this action been previoust filed in this court and dismissed, remanded or ciosed? E] NO m YES
ifyes, list case numberlsi:
lX{b}. REI.ATED CASES: I-iave any cases been previously filed in this court that are related to the present case? [X] NO [:] YES

if yes. list case number(s):

 

Cl\r|l casesmdlemod raided ila previously lil\di:laeandtlte preamth

mth all b°“°‘ that app|y] m A. Arise from the same or closely related transactions happenings. or events; or

m B. Cail for determination ofthe same or substantially related orsimllar questions of law and fact; or

m C. For other reasons would entail substantial duplication of labor if heard by different]udges; or

|:l D. involve the same patent, trademark or copyright._a_[r_:|_one ofthe factors identilied above in a. b or c also ls present

 

X. S|GNATURE OF A'lTORNEY
toll SELF-REPRESENTED Ll“GANT):

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liot|oo to Counaelfhi'l|est The CV-?i {.iS-Mi Ctvll Cover Sheet and the information contained herein neither replace nor supplement the iiiing and service of pleadin s or
other papers as required by iaw. This forrn. approved by the Judiciai Conference of the United States iri September 1974. ls required pursuant to Local Rule 3-1 is not ed
but is used bythe Clerii of the Court for the purpose of statistic_s, venue and initiating the civil docket sheet. (For more detailed lnstruct|ons, see sepa rate instructions sheeti.

 

Key to Statlsticai codes relating to Sociai Security Cases:

Nat.ure of Suit Code hbbr\vlat|on

Submnthro Statemlnt el Clirlo el Aclion
Ni claims for health insurance benefits (Medicarei under Titie 18. Part A. of the Sociai Security Act. as amended. Aiso,

 

551 HlA include claims by hospita|s, skilled nursing facilitiesl etc., for certilication as providers of services under the pregram.
142 U.S.C. lBBSFF{b))

862 BL Ail tilalms for 'Biack Lung" benefits under Tit|e 4, Part B. of the Federal Coal Mine i-iealth and Safety Act of 1969. (30 U.S.C.
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863 Dlwc A|l claims filed by insured workers for disability insurance benefits under Tit|e 2 of the Sociai Seci.uity Act. as amended; plus
ali claims iiied for child's insurance benele based on disability. (42 US.C. 405 (gii

853 D|ww A|| claims liler.i for widows or widowers Insurance benefits based on disability underlitle 2 of the Sociai Security Act, as
amended [42 U.S.C. 405 [g])
All claims for supplemental security income payments based upon disability filed under'i’itie 16 of the Sociai Security Act, as

864 SSlD amended

865 RS| Ali claims for retirement (old agei and survivors benefits underiitle 2 ofthe Sociai Security Act, as amended
142 U_S.C. 405 (gli

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